                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO
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RUBEN ESCANO,

        Plaintiff,
                                                             Case No. 2:23-cv-00277-MLG-GJF
v.

INNOVATIVE FINANCIAL PARTNERS, LLC,
d/b/a INNOVATIVE FINANCIAL GROUP, and
JOSH BENSON,

        Defendants.

     ORDER OVERRULING OBJECTIONS AND ADOPTING THE MAGISTRATE
      JUDGE’S PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

        On July 27, 2023, this Court issued an order asking Magistrate Judge Gregory J. Fouratt to

consider several pending motions: Motion to Enforce Settlement Agreement, Dismiss Case, and

Obtain Fees (Doc. 24), Motion to Seal Document (Doc. 25), sealed Motion to Enforce Settlement

Agreement, Dismiss Case, and Obtain Fees (Doc. 26), and Motion to Seal Document (Doc. 39) in

addition to Plaintiff Ruben Escano’s Motion for Reconsideration (Doc. 30). Doc. 45. The order

expressly provided that Judge Fouratt may conduct evidentiary hearings or perform any legal

analysis “required to recommend to the Court an ultimate disposition of the motions.” Id. at 1. The

Court asked Judge Fouratt to provide his analysis, including findings of fact and recommended

disposition. Id.

        Judge Fouratt responded to this Court’s request by closely reviewing the parties’ filings

and by holding a lengthy evidentiary hearing. See Doc. 71 at 1-2. During the hearing, Judge Fouratt

admitted and reviewed more than fifty exhibits and heard testimony from three witnesses. Id. He

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also received Proposed Findings of Fact and Conclusions of Law from both sides and granted

Plaintiff’s request to take judicial notice of various matters pertaining to Internal Revenue Service

documents and the rates for United States Treasury Bills for 2023. Id. at 2; see also Doc. 68. At

the conclusion of the evidentiary hearing and having received all the parties’ submissions, Judge

Fouratt scrutinized the arguments and evidence put before him. As he explained in his Proposed

Findings and Recommended Disposition (PFRD):

           The Court listened carefully to the witnesses’ testimony, examined each
           exhibit, and took ten single-spaced pages of contemporaneous notes to
           assist its recollection of the evidence. In addition, the Court has since re-
           read the hearing transcript in its entirety and re-examined each exhibit.

Doc. 71 at 2. Thereafter, Judge Fouratt made several recommendations, which largely went in the

Defendants’ favor. He recommended that this Court: (1) grant Defendants’ Motion to Enforce

Settlement Agreement, Dismiss Case, and Obtain Fees; (2) deny Plaintiff’s Motion to Void

Settlement Agreement and Reconsider Order to Submit Closing Document; (3) order Defendants

to reissue a settlement check in the same amount as reflected in Defendants’ Exhibit 2; (4) order

Plaintiff to pay Defendants the combined amount of $144,605.43 in reasonable attorneys’ fees and

expenses; and (5) order dismissal of the matter with prejudice. Id. at 36-37.

       The PFRD notified the parties of their ability to file objections, and at Plaintiff’s request,

the period for filling objections was extended by fourteen days until February 20, 2024. Doc. 74.

Defendants filed their objections to the PFRD on February 6, 2024. Doc. 75. Their objections were

limited to Judge Fouratt’s recommendation regarding attorneys’ fees. Defendants asserted that the

rates and hours sought were reasonable and no reduction was warranted. Id. Plaintiff also filed

objections claiming—for various reasons—that the settlement agreement was unenforceable and

Judge Fouratt’s PFRD should not be countenanced. Doc. 78.


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       Pursuant to Fed. R. Civ. P. 72(b)(3), the Court has conducted a de novo review of the record

and Judge Fouratt’s PFRD. That process included a careful review of the relevant briefing along

with the transcript of the evidentiary hearing, and the Court has read and re-read the PFRD several

times. After conducting this de novo review and having carefully considered the PFRD and the

objections, the Court finds no reason either in law or fact to depart from Judge Fouratt’s

recommended disposition. Indeed, this Court cannot identify a single point on which it disagrees

with Judge Fouratt’s analysis. For these reasons, it is ordered as follows:

       1. The Defendants’ objections to the PFRD are overruled;

       2. The Plaintiff’s objections to the PFRD are overruled;

       3. The Magistrate Judge’s Proposed Findings and Recommended Disposition (Doc. 71)
          are adopted;

       4. The Court hereby (1) grants Defendants’ Motion to Enforce Settlement Agreement,
          Dismiss Case, and Obtain Fees; (2) denies Plaintiff’s Motion to Void Settlement
          Agreement and Reconsider Order to Submit Closing Document; (3) orders Defendants
          to reissue a settlement check in the same amount as reflected in Defendants’ Exhibit 2;
          (4) orders Plaintiff to pay Defendants the combined amount of $144,605.43 in
          reasonable attorneys’ fees and expenses; and

       5. This matter is dismissed with prejudice. The Court shall issue a Rule 58 judgment
          separately.




                                                       UNITED STATES DISTRICT JUDGE
                                                       MATTHEW L. GARCIA




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